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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Dynamite Marketing, Inc.                       )
                                               )      Case No. 18-cv-7760
v.                                             )
                                               )      Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                           )
UNINCORPORATED ASSOCIATIONS                    )      Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                     )
                                               )
                                               )

                                       Voluntary Dismissal

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Dynamite Marketing, Inc.,

voluntarily dismiss any and all claims against defendants without prejudice:

 Doe    Merchant Name            Merchant ID
 22     zhangziyuan              5799b72cfdd13f536e320cb1
 23     zhuling123456            5799c3ee141f7e3ce233b247
 24     songchunxuhh             58525ddaba7e476a8cbf01b5
 26     shoppinghu               59511231611d6377c57f4901
 28     zgszyouth0103            59f29a7fdc7a9160a0ff6e13
 29     liuzhongyi123            5a76fd569c15ff1c04157a5f
 30     sdadmenghai              5a9eb29b2fbbdc29029fa3c2
 31     pppppp                   5aa13b1accf0c8025375d134
 32     xiaoxilongaiwan          5aa2d3cf18435441efa76944
 33     yuantoton                5aa34338c98949506b8c9ce8
 34     yangyi123                5aa6645915511a42fedec0e0
 35     wangmeng111              5aa7700dc3911a4de238e9fb
 36     zengyez                  5aaa32361843545d30b0ddf9
 39     maybuymoon               56972002bdf65a25034c9fee
 42     suxindz                  57dfe45739ce421067c0ec9a
 46     yiwuyileebusinesscoltd   5462c3f49719cd337490f408
 47     waterfall                55c8583ced219842458af3ca
 51     sparkworld2014           5451edee90c776268a752c87
 52     freebuystore             573837619792015934a375d2
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 69     flyingcastle         58309b5a42abfb1bc255661d
 79     qinglongstore        5863b8c1edfd084e0679f14f
        苏州执子念服饰有限公
 86     司                    5524e8a9c4265109a12e8925
 93     ncong                583bcebed914f506e35cfa31
 96     liu345               59b93f1752c6c9325dc6a162
 98     mamaxbd              58ef59aec1c94c15678e2f36
 113    yidafamily           59140dbb2da1ba24b5fbb621
 115    wangzhenyin          5ac9e25cddf45b21d8ba0769

Dated: April 30, 2019
                                         Respectfully submitted,


                                         By:      s/David Gulbransen/
                                                David Gulbransen
                                                Attorney of Record

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